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                                         U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     August 27, 2019

BY ECF
The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Avenatti,
               19 Cr. 373 (PGG)

Dear Judge Gardephe:

       The Government respectfully writes in the above-captioned matter, with the consent of the
defendant, both directly and through counsel, to request that the Court sign and docket the enclosed
proposed amended protective order.

                                                     Respectfully submitted,

                                                     GEOFFREY S. BERMAN
                                                     United States Attorney

                                              By:    s/ Daniel C. Richenthal
                                                     Matthew D. Podolsky
                                                     Robert B. Sobelman
                                                     Daniel C. Richenthal
                                                     Assistant United States Attorneys
                                                     (212) 637-1947/2616/2109

Enclosure

cc:    (by ECF)

       Counsel of Record
